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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION

 SOPHIA VAZQUEZ, a Minor,                     )
 By Parents and Guardian on behalf of,        )
 IVANNIA VAZQUEZ,                             )
                                              )
              Plaintiff,                      )
                                              )
       v.                                     )   CIVIL ACTION NO. 5:21-cv-98 (MTT)
                                              )
 WAL-MART, INC., et al.,                      )
                                              )
              Defendants.                     )
                                              )

                                          ORDER

      Plaintiff’s counsel, Isaiah Gregory, first filed suit on behalf of Sophia Vazquez in the

Superior Court of Jones County on May 6, 2020. Defendant Wal-Mart then removed the

case to this Court on May 24, 2020. Because the pleadings suggested Sophia Vazquez

was a minor, the Court, on May 26, entered a Show Cause Order directing Gregory to

explain how the action could be prosecuted by a minor, or in the alternative, move to join

an appropriate representative. Gregory failed to respond. On July 22, 2020, an in-person

status conference was set for August 13. Gregory did not appear, and the Court

dismissed the action without prejudice.

      On March 23, 2021, Gregory refiled the suit directly with the Court. Doc. 1. An in-

person status conference was set for May 4, 2021. Gregory again failed to appear. On

May 5, the Court entered a Show Cause Order, which set a hearing for May 17, 2021.

Doc. 10. The Court, without ambiguity, ordered Gregory to appear in person and explain

why his case should not be dismissed with prejudice and why he should not be
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sanctioned and removed from the Bar of this Court. Id. For the third time, Gregory failed

to appear.

        Accordingly, Wal-Mart’s counsel shall itemize its expenses and fees related to its

appearance at the May 4, 2021 status conference and submit them to the Court. If the

Court finds Wal-Mart’s expenses and fees reasonable, Gregory will be ordered to pay

those fees within fourteen days. Also, pursuant to Local Rule 83.2.2 the Court refers

Gregory to the Court’s Grievance Committee to determine whether formal disciplinary

proceedings are warranted. Finally, Gregory is prohibited from appearing in any other

case in this District without the Court’s permission. This matter is stayed pending the

resolution of these issues. A copy of this Order shall be sent to the apparent address of

the plaintiff.

        SO ORDERED, this 18th day of May, 2021.

                                                  S/ Marc T. Treadwell
                                                  MARC T. TREADWELL, CHIEF JUDGE
                                                  UNITED STATES DISTRICT COURT




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